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 8                           UNITED STATES DISTRICT COURT
 9
                            CENTRAL DISTRICT OF CALIFORNIA
10
     VERONICA CERDA, an individual,          Case No.: CV 20-4651-DMG (AGRx)
11
                                             ORDER RE DISMISSAL OF ACTION
12             Plaintiff,                    WITH PREJUDICE [36]
13
               vs.
14
15   SHASTA BEVERAGES, INC.,
     NATIONAL BEVPAK, NATIONAL
16
     BEVERAGE CORP. and DOES 1 through
17   50, inclusive,
18
               Defendants.
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 1         Pursuant to the Stipulation entered into by and between Plaintiff VERONICA
 2   CERDA and Defendants SHASTA BEVERAGES, INC., NATIONAL BEVPAK and
 3   NATIONAL BEVERAGE CORP., through their respective counsel of record, and good
 4   cause appearing thereby,
 5
           IT IS HEREBY ORDERED that the above-captioned action is hereby dismissed
 6
     with prejudice in its entirety. All scheduled dates and deadlines are VACATED.
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 8
     DATED: October 1, 2021                     ________________________________
 9                                              DOLLY M. GEE
10                                              UNITED STATES DISTRICT JUDGE
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